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                                         UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA

                                                                   CONSENT TO EXERCISE OF SETTLEMENT
                                                                   JURISDICTION BY A \,JNITED STATES MAGISTRATE
                                                                   JUDGE AND ORDER OF REFERENCE
   1472 NEPTUNE LLC,
                                                Plaintiff
                        .
                                V.
                                                                   CASE NUMBER: 19--CV-2070-W(WVG)
   PAUL H. MEARDON et al..
                                                Defendants.


             CONSENT TO JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
             The parties, having settled this case, b): signingbelow further voluntarily consentto tliejurisdiction ofUnited
   States Magistrate Judge William V. Gallo, until June 1, 2023, to decide:
             (l) alt disputes regarding settlement. terms arising during the documentation thereof not resolved by the
   parties themselves; and,
             (2) all disputes arising out ofthe tenns ofthe settlement agreement once CQIDpleted;
   AND, that any decision by !heMagistra.1� Judge rei!ardinl{ any such dis_P.ute(s), 1 o� 2, above1 s_ hail be FIN�L �
   .BINDING, WITH NO APPEAL. The mtent oftlie partJes 1.s to provide the Magrstratef JuQge plenary authonty to
   achieve finality regarding disputes between/among the parties, to reduce the nsk o future litigation, minimize
   expense, and afford a venue for the parties to solve disputes with a minimum of expense.
                                     Signatures                                                Date

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                                     dant) �deClient)




   circle one eatb: (Plaintiff/Defendant) end (Attorney/Client)
                                     ORDER OF REFERENCE
      IT IS HEREBY ORDERED that this case be referred to the Honorable William V, Gallo,
   United States Magistrate Judge, for all settlement proceedings and the entry ofjudgment in
   accordance with 28 U.S.C. 636(c), FRCP 73 and the foregoing consent of the parties.

                 Date                                                Sr. United States District Judge Thomas J. Wheian
